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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-071-CV



IN RE ROBERT GURLEY							 &nbsp;&nbsp;RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus and the response filed by real party in interest, American Airlines, Inc., and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM





PANEL B:	DAUPHINOT, LIVINGSTON, and MCCOY, JJ.



LIVINGSTON, J. would grant.	



DELIVERED: May 12, 2004



FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




